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                        EXHIBIT 2
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                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                      January 7, 2022

DELIVERY VIA EMAIL
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       RE:     United States v. Stephen K. Bannon, 21-cr-670 (CJN)

Counsel:

        We write in response to your January 6, 2022, letter requesting information about internal
deliberations and investigative steps relating to Mr. Costello and any other attorneys who have
represented Mr. Bannon. As you are aware, and as we discussed in a phone call with Mr. Corcoran
and Mr. Schoen on December 2, 2021, Mr. Costello represented Mr. Bannon before the January
6th Select Committee (“the Committee”) in relation to the subpoena it issued to Mr. Bannon and
is, therefore, a witness to the conduct charged in the Indictment. We understand that attorney
Adam Katz also represented Mr. Bannon with respect to the Committee and, therefore, also is a
potential witness. We are not aware of any other attorneys who represented Mr. Bannon with
respect to the Committee.
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       Aside from the information that Mr. Costello voluntarily disclosed on behalf of Mr. Bannon
during the investigation of this matter, the Government has not taken any steps to obtain any
attorney work product relating to any attorney’s representation of Mr. Bannon or to obtain any
confidential communications between Mr. Bannon, Mr. Costello, and Mr. Katz, or between Mr.
Bannon and any other attorneys.

       We have provided all discoverable material in the prosecution team’s possession, custody,
or control relating to Mr. Costello’s and Mr. Katz’s involvement in the conduct charged in the
Indictment. The Government understands its discovery obligations under Federal Rule of Criminal
Procedure 16; the Jencks Act; and Brady, Giglio, and their progeny, and will continue to comply
with them should additional discoverable material come into the prosecution team’s possession,
custody, or control.


                                            Sincerely,

                                            MATTHEW M. GRAVES
                                            United States Attorney

                                     By:    /s/ Amanda R. Vaughn
                                            J.P. Cooney
                                            Molly Gaston
                                            Amanda R. Vaughn
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